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BAKER & HOSTETLER LLP                             Hearing Date: May 2, 2017
45 Rockefeller Plaza                              Time: 10:00 a.m.
New York, NY 10111
Telephone: (212) 589-4200                         Objection Deadline: March 31, 2017
Facsimile: (212) 589-4201                         Time: 5:00 p.m.
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Attorneys for Irving H. Picard, Trustee for the
Substantively Consolidated SIPA Liquidation of
Bernard L. Madoff Investment Securities LLC and
the Estate of Bernard L. Madoff
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 SECURITIES INVESTOR PROTECTION                     Adv. Pro. No. 08-01789 (SMB)
 CORPORATION,
                                                    SIPA Liquidation
                      Plaintiff-Applicant,
                                                    (Substantively Consolidated)
                 v.

 BERNARD L. MADOFF INVESTMENT
 SECURITIES, LLC,

                      Defendant.
 In re:

 BERNARD L. MADOFF INVESTMENT
 SECURITIES LLC,

                      Debtor.
IRVING H. PICARD, Trustee for the Substantively
Consolidated SIPA Liquidation of Bernard L.
Madoff Investment Securities LLC and Bernard L.
Madoff,

                            Plaintiff,
            v.                                      Adv. Pro. No.: 10-04417 (SMB)

THE LUSTIG FAMILY 1990 TRUST; and DAVID
I. LUSTIG, individually and in his capacity as
Trustee for The Lustig Family 1990 Trust,

                            Defendants.
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 IRVING H. PICARD, Trustee for the Substantively
 Consolidated SIPA Liquidation of Bernard L.
 Madoff Investment Securities LLC and Bernard L.
 Madoff,
                             Plaintiff,            Adv. Pro. No. 10-04554 (SMB)
          v.

 DAVID IVAN LUSTIG,

                            Defendant.


            MEMORANDUM OF LAW IN SUPPORT OF THE TRUSTEE’S
               MOTION TO STRIKE AFFIRMATIVE DEFENSES
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        Irving H. Picard (the “Trustee”), as Trustee for the liquidation of the business of Bernard

L. Madoff Investment Securities LLC (“BLMIS”) and the substantively consolidated estate of

Bernard L. Madoff (“Madoff”) under the Securities Investor Protection Act, 15 U.S.C. §§ 78aaa,

et seq. (“SIPA”) files this Memorandum of Law in support of the Trustee’s motion (the

“Motion”) to strike certain of Defendants The Lustig Family 1990 Trust and David Ivan Lustig’s

(collectively, “Defendants”) affirmative defenses under Rule 12(f) of the Federal Rules of Civil

Procedure, made applicable to this proceeding by Rule 7012 of the Federal Rules of Bankruptcy

Procedure, to eliminate the expense and delay of litigating these legally insufficient defenses.

I.      BACKGROUND AND STATEMENT OF FACTS

        A.       Adv. Pro. No. 10-04417 – The Lustig Family 1990 Trust and David I. Lustig

        On March 18, 2016, the Trustee filed his First Amended Complaint against The Lustig

Family 1990 Trust (the “Lustig Trust”) and David I. Lustig, individually and in his capacity as

Trustee for the Lustig Trust. 1 BLMIS Account No. 1ZB268 was held in the name “David I.

Lustig TRF Lustig Family 1990 Trust dated 1/31/90.” During the two years prior to December 11,

2008, BLMIS made transfers to Lustig, or to the Lustig Trust and for the benefit of Lustig,

totaling $4,241,336 in fictitious profits.

        As alleged in the Trustee’s First Amended Complaint, Lustig requested three wire

transfers from Account No. 1ZB268 to a bank account held in his name (the “David Lustig Bank

Account”) that comprise the fictitious profits at issue. On or about July 23, 2007, Lustig sent a

letter to BLMIS requesting that BLMIS transfer $5,000,000 from Account No. 1ZB268 to the

David Lustig Bank Account. On or about July 24, 2007, BLMIS wired $5,000,000 from the



1
  Defendants’ investment history with BLMIS and the facts surrounding the operation and collapse of Madoff’s
Ponzi scheme are more fully set forth in the Trustee’s First Amended Complaint. (Adv. Pro. No. 10-04417, Picard
v. The Lustig Family 1990 Trust, et al. (the “Lustig Trust Dkt.”), No. 57).


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BLMIS Bank Account to the David Lustig Bank Account. Of that amount, $2,241,336 was

fictitious profits.

        On or about December 18, 2007 and again on September 23, 2008, Lustig sent letters to

BLMIS, requesting that BLMIS transfer $500,000 and $1,500,000 respectively from Account

No. 1ZB268 to the David Lustig Bank Account. BLMIS wired these amounts from the BLMIS

Bank Account to the David Lustig Bank Account. Each of these transfers were fictitious profits.

        B.       Adv. Pro. No. 10-04554 – David Ivan Lustig

        On March 18, 2016, the Trustee filed his First Amended Complaint against David Ivan

Lustig. 2 BLMIS Account No. 1ZR297 was held in the name “NTC & Co. FBO David Ivan

Lustig.” During the two years prior to December 11, 2008, BLMIS made a transfer to Lustig of

$1,863,225 in fictitious profits.

        C.       Defendants’ Eighth, Ninth, Tenth, Eleventh and Twelfth Affirmative
                 Defenses

        On May 2, 2016, Defendants filed their Answers to the Trustee’s First Amended

Complaints in each adversary proceeding. (Lustig Trust Dkt. No. 58; Lustig Dkt. No. 61).

Defendants’ Answers assert five defenses based on the contention that, after they withdrew funds

from BLMIS Account Nos. 1ZB268 and 1ZR297, they invested monies through a series of third-

party investment vehicles, including Lakeview Investment L.P. (“Lakeview”), that were

allegedly invested in BLMIS. These reinvested funds were allegedly lost as a result of the Ponzi

scheme.

        Specifically, Defendants allege that the $5,000,000 withdrawn from BLMIS Account No.

1ZB268 on July 24, 2007, and the $2,000,000 withdrawn from BLMIS Account No. 1ZR297 on


2
  Defendant’s investment history with BLMIS and the facts surrounding the operation and collapse of Madoff’s
Ponzi scheme are more fully set forth in the Trustee’s First Amended Complaint. (Adv. Pro. No. 10-04554, Picard
v. David Ivan Lustig (the “Lustig Dkt.”), No. 60).


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July 25, 2007, were “immediately reinvested back into BLMIS” through Lakeview3 “until all of it

was lost as a result of Madoff’s fraud.” (Lustig Trust Dkt. No. 58 and Lustig Dkt. No. 61 at

Eighth through Twelfth Affirmative Defenses).

           In sum, Defendants speculate that monies may have been indirectly invested in BLMIS

through a series of third-party investment vehicles, including Lakeview, and then were lost as a

result of Madoff’s fraud. 4 Even if Defendants’ allegations are taken as true, Defendants’ Eighth,

Ninth, Tenth, Eleventh and Twelfth Affirmative Defenses (the “Affirmative Defenses”) fail as a

matter of law, because they are contrary to the mandate of the Bankruptcy Code (the “Code”)

and the structure of this SIPA liquidation.

II.        STANDARD FOR GRANTING MOTION TO STRIKE

           On January 25, 2017, following a discovery conference pursuant to Local Bankruptcy

Rule 7007-1 regarding Defendants’ discovery requests to the Trustee relating to the Affirmative

Defenses, the Court entered Orders authorizing the Trustee to move to strike the Affirmative

Defenses pursuant to Federal Rule of Civil Procedure 12(f). 5 Rule 12 permits courts to strike

any insufficient defenses. FED. R. CIV. P. 12(f). “An affirmative defense is insufficient if, as a

matter of law, the defense cannot succeed under any circumstances.” In re Sterling Die Casting

Co., Inc., 118 B.R. 205, 207 (Bankr. E.D.N.Y. 1990); Nat'l Union Fire Ins. Co. of Pittsburgh,

Pa. v. Alexander, 728 F.Supp. 192, 203 (S.D.N.Y. 1989).

           “The standard for striking an affirmative defense is three-pronged: (1) there must be no

question of fact that might allow the defense to succeed; (2) there must be no substantial question

3
  Defendants contend that Lakeview was a third-party feeder fund, but it was not and Lakeview did not have a
BLMIS account. Instead, Lakeview invested in other investment vehicles that may, or may not, have invested in
other BLMIS feeder funds.
4
 See Defendants’ Answers at Eighth through Twelfth Affirmative Defenses (Lustig Trust Dkt. No. 58; Lustig Dkt.
No. 61).
5
    (Lustig Trust Dkt. No. 70; Lustig Dkt. No. 73).


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of law that might allow the defense to succeed; and (3) the plaintiff must be prejudiced by the

inclusion of the defense.” Specialty Minerals, Inc. v. Pluess–Staufer AG, 395 F.Supp.2d 109, 111

(S.D.N.Y. 2005). In considering the sufficiency of a defense under the first two prongs of the

analysis, “courts apply the same standard applicable to a motion to dismiss pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure.” Coach, Inc. v. Kmart Corp., 756 F.Supp.2d

421, 425 (S.D.N.Y. 2010).

       “[I]f an affirmative defense is unavailable as a matter of law, the first part of the inquiry

is complete,” meaning that “there are no substantial questions of law or fact that might allow the

defense to succeed.” Wausau Bus. Ins. Co. v. Horizon Admin. Svcs. LLC, 803 F.Supp.2d 209,

213 (E.D.N.Y. 2011); see also Sec. Exch. Comm’n v. Toomey, 866 F.Supp. 719, 722 (S.D.N.Y.

1992) (“When ‘the defense is insufficient as a matter of law, the defense should be stricken to

eliminate the delay and unnecessary expense from litigating the invalid claim’”) (quoting FDIC v.

Eckert Seamans Cherin & Mellott, 754 F.Supp. 22, 23 (E.D.N.Y. 1990)).

       When an affirmative defense is unavailable as a matter of law, the only remaining inquiry

is whether the plaintiff would be prejudiced if the defense remained in the pleadings. See

Wausau, 803 F.Supp.2d at 213. Here, the Trustee will be prejudiced by the discovery obligations

he will face if compelled to address the meritless defenses asserted by Defendants. See Sec.

Exch. Comm’n v. McCaskey, 56 F.Supp.2d 323, 326 (S.D.N.Y. 1999) (“An increase in time,

expense and complexity of a trial may constitute sufficient prejudice to warrant granting a

plaintiff’s motion to strike.”) (citing Toomey, 866 F.Supp. at 722); Specialty Minerals, Inc., 395

F.Supp.2d at 114 (finding prejudice where “additional discovery would be required” and “length

and scope of the portion of the trial related to the claims raised in this proceeding would be

expanded” by inclusion of affirmative defense).




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III.    DEFENDANTS’ EIGHTH, NINTH, TENTH, ELEVENTH AND TWELFTH
        AFFIRMATIVE DEFENSES ARE INSUFFICIENT AS A MATTER OF LAW

        A.       Affirmative Defenses Eight and Nine – Equitable Defenses

        Defendants’ Eighth Affirmative Defense asserts that the Trustee’s attempt to recover

from Defendants is unreasonable and unconscionable, and the Court should use its equitable

powers under 11 U.S.C. § 105(a) to dismiss the Trustee’s claims. 6 Defendants’ Ninth

Affirmative Defense requests the Court grant an “equitable credit” under 11 U.S.C. § 105(a) in

the amount “returned to BLMIS through their Lakeview investment.” 7 Both of these purported

defenses are insufficient as a matter of law because they directly contradict the Code and are not

supported elsewhere in the law.

        “Section 105(a) authorizes a bankruptcy court to fashion such orders as are necessary to

further the substantive provisions of the Bankruptcy Code,” but the “statute does not authorize

the bankruptcy courts to create substantive rights that are otherwise unavailable under applicable

law, or constitute a roving commission to do equity.” Chiasson v. J. Louis Matherne and Assocs.

(In re Oxford Mgmt., Inc.), 4 F.3d 1329, 1333-1334 (5th Cir. 1994) (quoting United States v.

Sutton, 786 F.2d 1305, 1308 (5th Cir. 1986)); see also, e.g., In re Plaza de Diego Shopping Ctr.,

Inc., 911 F.2d 820, 824 (1st Cir. 1990). “The equitable power conferred on the bankruptcy court

6
  Defendants’ Eighth Affirmative Defense asserts “[t]he entire sum of $5,000,000 [$2,000,000] that was withdrawn
from the Account on or about July 24, 2007 [July 25, 2007], was immediately reinvested back into BLMIS through
third-party feeder fund Lakeview and thereafter remained invested with BLMIS until all of it was lost as a result of
Madoff’s fraud. Defendants, therefore, did not actually receive any fictitious profits and, in fact, lost money as a
result of Madoff’s fraud. The Trustee’s attempt to recover any portion of this money from Defendants even though
all of it had been returned to BLMIS and subsequently lost as a result of Madoff’s fraud is unreasonable and
unconscionable. Under these circumstances, the Court should exercise its equitable powers under 11 U.S.C. § 105(a)
and dismiss the Trustee’s claim.” (Lustig Trust Dkt. No. 58; Lustig Dkt. No. 61).
7
  Defendants’ Ninth Affirmative Defense asserts “[t]he entire sum of $5,000,000 [$2,000,000] that was withdrawn
from the Account on or about July 24, 2007 [July 25, 2007], was immediately reinvested back into BLMIS through
third-party feeder fund Lakeview and thereafter remained invested with BLMIS until all of it was lost as a result of
Madoff’s fraud. Defendants, therefore, did not actually receive any fictitious profits and, in fact, lost money as a
result of Madoff’s fraud. Under these circumstances, the Court should exercise its equitable powers under 11 U.S.C.
§ 105(a) and grant Defendants an ‘equitable credit’ in the full amount (i.e., $5,000,000 [$2,000,000]) that they had
returned to BLMIS through their Lakeview investment.” (Lustig Trust Dkt. No. 58; Lustig Dkt. No. 61).


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by section 105(a) is the power to exercise equity in carrying out the provisions of the Bankruptcy

Code, rather than to further the purposes of the Code generally, or otherwise to do the right

thing.” New England Dairies, Inc. v. Dairy Mart Convenience Stores, Inc. (In re Dairy Mart

Convenience Stores, Inc.), 351 F.3d 86, 92 (2d Cir. 2003) (emphasis added).

           There is no support for broadening the scope of section 105(a) to create the substantive

rights requested by Defendants. In fact, applying section 105(a) to grant Defendants equitable

credit would require a much more expansive reading of the section than is supported by the law,

and would directly contradict the priority scheme of the Code and SIPA as well as the rulings of

this Court holding that indirect investors in BLMIS—which the Defendants claim to be—do not

qualify as customers eligible to share in customer property. Under SIPA, the Trustee is

responsible for distributing customer property to the fullest extent possible, but only to a broker’s

customers. The statutory framework for the satisfaction of customer claims in a SIPA liquidation

proceeding provides that “customers,” as defined in SIPA § 78lll(2), share pro rata in “customer

property.” SIPA § 78lll(4). It is the customer’s burden to demonstrate he or she is entitled to

customer status. 8 This Court has granted fifteen motions by the Trustee to affirm his

determinations that claimants who invested in a BLMIS accountholder are not customers under

SIPA. 9


8
    Mishkin v. Siclari (In re Adler, Coleman Clearing Corp.), 277 B.R. 520, 557 (Bankr. S.D.N.Y. 2002).
9
  See Order Approving Trustee’s Motion To Affirm His Determinations Denying Claims of Claimants Holding
Interests In: S&P or P&S Associates, General Partnerships, Dkt. No. 9450 (Mar. 10, 2015); Peerstate Equity Fund,
L.P., Dkt. No. 9883 (Apr. 27, 2015); The Lazarus-Schy Family Partnership, The Schy Family Partnership, Or The
Lazarus Investment Group, Dkt. No. 10010 (May 18, 2015); Epic Ventures, LLC, Dkt. No. 10267 (June 25, 2015);
Partners Investment Co., Northeast Investment Club, And Martin R. Hamick & Steven P. Norton, Partners, Dkt. No.
10894 (July 29, 2015); The Whitman Partnership, The Lucky Company, The Petito Investment Group, And The
Harwood Family Partnership, Dkt. No. 11145 (Aug. 26, 2015); 1973 Masters Vacation Fund, Bull Market Fund,
And Strattham Partners, Dkt. No. 11920 (Oct. 29, 2015); Black River Associates LP, MOT Family Investors, LP,
Rothschild Family Partnership, and Ostrin Family Partnership, Dkt. No. 12757 (Mar. 3, 2016); The Article Third
Trust, Palmer Family Trust, Maggie Faustin, Estate of Theodore Schwartz, and Miller Trust Partnership, Dkt. No.
13172 (Apr. 26, 2016); William M. Pressman, Inc., William Pressman, Inc. Rollover Account, and AGL Life
Assurance Company, Dkt. No. 13466 (June 7, 2016); Palko Associates, Gloria Jaffe Investment Partnership, and the


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         Defendants withdrew money from BLMIS. Defendants allege they invested that money

in Lakeview, which in turn allegedly invested in non-feeder fund investment vehicles of the

Tremont Capital Group and Wailea Partners, LP, which in turn may, or may not, have invested in

the Senator Fund SPC. In the first instance, Defendants cannot demonstrate that the funds

purportedly invested in various investment vehicles were actually reinvested in BLMIS. Further,

under this Court’s prior decisions, Defendants do not qualify as customers under SIPA because,

even taking their allegations as true, Defendants did not invest in BLMIS, but instead

participated in investment vehicles that may have invested in BLMIS. As a result, they are not

customers and do not have valid customer claims that they can use to offset their liability in these

adversary proceedings.

         Affirmative Defenses Eight and Nine fail as a matter of law and should be struck.

         B.       Affirmative Defense Ten – Single Satisfaction Rule

         Defendants’ Tenth Affirmative Defense asserts that the Trustee’s attempt to recover from

Defendants “money which they had [] already returned to the BLMIS estate” violates the single

satisfaction rule codified at 11 U.S.C. § 550(d). 10 The single satisfaction rule is inapplicable here

for a number of reasons. First, the Trustee is not seeking a double satisfaction from Defendants.



Miller Partnership, Dkt. No. 13780 (July 22, 2016); Chalek Associates LLC, Chaitman/Schwebel LLC, FGLS
Equity LLC, Larsco Investments LLC, and Kuntzman Family LLC, Dkt. No. 14225 (Oct. 4, 2016); AHT Partners,
Pergament Equities, LLC, SMT Investors LLC, Greene/Lederman, L.L.C., And Turbo Investors, LLC, Dkt. No.
14346 (Oct. 27, 2016); M&H Investment Group L.P., PJFN Investors Limited Partnership, Kenn Jordan Associates
and Harmony Partners, Ltd., Dkt. No. 14537 (Dec. 1, 2016); and Sienna Partnership, L.P., Katz Group Limited
Partnership, and Fairfield Pagma Associates, L.P., Dkt. No. 14774 (Dec. 22, 2016).
10
   Defendants’ Tenth Affirmative Defense asserts “[t]he entire sum of $5,000,000 [$2,000,000] that was withdrawn
from the Account on or about July 24 [July 25], 2007, was immediately reinvested back into BLMIS through third-
party feeder fund Lakeview and thereafter remained invested with BLMIS until all of it was lost as a result of
Madoff’s fraud. Defendants, therefore, did not actually receive any fictitious profits and, in fact, lost money as a
result of Madoff’s fraud. The Trustee’s attempt to recover from Defendants money which they had thus already
returned to the BLMIS estate violates the single satisfaction rule codified at 11 U.S.C. § 550(d), which bars recovery
from a transferee where the value of the transferred property had already been returned to the estate.” (Lustig Trust
Dkt. No. 58; Lustig Dkt. No. 61).



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Contrary to their misleading characterization, Defendants did not return money to the BLMIS

estate. Rather, Defendants invested in a wholly separate entity, Lakeview, which in turn may

have invested, through additional wholly separate entities, with BLMIS. Defendants’ claims

related to investments they made with funds withdrawn from their BLMIS accounts, to the extent

they exist, are against the entities in which they subsequently invested, such as Lakeview, not

against the debtor’s estate.

        Defendants have relied on Dobin v. Presidential Fin. Corp. of Delaware Valley (In re

Cybridge Corp.), to support their contention that they are entitled to equitable relief. 312 B.R.

262 (Bankr. D.N.J. 2004). In Dobin, the court exercised its section 105(a) powers based on

section 550(d) of the Code, which limits a trustee to a “single satisfaction” of an avoidable

transfer, thereby restoring the debtor’s estate to the condition it would have been in had the

transfer never occurred. Id. at 268-271.

        But Dobin is inapplicable here. Unlike Dobin, the Trustee is not seeking a double

satisfaction of amounts owed. Taking their allegations as true, Defendants withdrew money from

BLMIS and invested it with Lakeview, which invested money in other entities that may or may

not have had a business relationship with BLMIS. Defendants’ proper channel for recovery of

any money invested with Lakeview is from Lakeview and any other third-party investment

vehicles through which Defendants allegedly reinvested in BLMIS. In fact, Defendants admit

that they have already recovered at least $792,654 from Lakeview. 11 By attempting to evade the

Trustee’s recovery effort while simultaneously recovering from Lakeview, it is Defendants who

are seeking a double recovery.

        As a result, Defendants’ Tenth Affirmative Defense is legally insufficient.

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  See Correspondence to the Court regarding Defendants’ First Sets of Interrogatories and Document Requests and
the Trustee’s Responses and Objections to Defendants’ First Sets of Interrogatories and Document Requests. (Lustig
Trust Dkt. No. 67; Lustig Dkt. No. 70).


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         C.       Affirmative Defense Eleven – Recoupment

         Defendants’ Eleventh Affirmative Defense asserts that Defendants are entitled to an

offset or credit under the theory of recoupment. 12 “A ‘recoupment’ is an offset based upon a

claim for relief arising from the same transaction as the plaintiff’s claim or cause of action,

strictly for the purpose of abatement or reduction of such claims.” Styler v. Jean Bob Inc. (In re

Concept Clubs, Inc.), 154 B.R. 581, 586 n.3 (D. Utah 1993) (emphasis in original) (citing

Lawrence P. King, 4 Collier on Bankruptcy ¶ 553.03, at 553–15 (15th ed. 1993)). Recoupment in

bankruptcy is allowed only “within a single contract or transaction or a single set of

transactions.” New York State Elec. and Gas Corp v. McMahon (In re McMahon), 129 F.3d 93,

96 (2d Cir. 1997). Indeed, “the recoupment doctrine is a limited one and should be narrowly

construed.” Id. at 97 (citing In Re Public Serv. Co. of N.H., 107 B.R. 441, 444 (Bankr. D.N.H.

1989)). A “mere logical relationship is not enough” to warrant recoupment in the bankruptcy

context. University Medical Center v. Sullivan (In re University Medical Ctr.), 973 F.2d 1065,

1081 (3d Cir. 1992). Recoupment should be limited to cases in which “both debts…arise out of a

single integrated transaction…” Id. (emphasis added); see also In re Waterscape Resort LLC,

544 B.R. 507, 527 (Bankr. S.D.N.Y. 2016).

         Defendants have argued that recoupment is applicable in these circumstances based on

the court’s opinion in Merrill v. Abbott (In re Indep. Clearing House Co.), which involved funds

from a Ponzi scheme that were reinvested directly with the debtor, rather than with a third party

that invested with the debtor. 77 B.R. 843, 877 (D. Utah 1987). The court was able to find that


12
   Defendants’ Eleventh Affirmative Defense asserts “[t]he entire sum of $5,000,000 [$2,000,000] that was
withdrawn from the Account on or about July 24 [July 25], 2007, was immediately reinvested back into BLMIS
through third-party feeder fund Lakeview and thereafter remained invested with BLMIS until all of it was lost as a
result of Madoff’s fraud. Defendants, therefore, did not actually receive any fictitious profits and, in fact, lost money
as a result of Madoff’s fraud. Accordingly, Defendants are entitled to an offset or credit under the theory of
recoupment in the full amount (i.e., $5,000,000 [$2,000,000]) that they had returned to BLMIS through their
Lakeview investment.” (Lustig Trust Dkt. No. 58; Lustig Dkt. No. 61).


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the “same transaction” requirement was satisfied and, as a result, held recoupment was

applicable. Id. at 877-78. By contrast, Defendants’ recoupment claims do not arise out of the

same contract, single integrated transaction or series of transactions. Defendants allege they

withdrew money from their BLMIS accounts and subsequently entered into a separate and

distinct contract and transaction (or series of transactions) with a third-party investment vehicle,

Lakeview. Defendants admit that Lakeview then engaged in a series of additional transactions

with various parties for the prospective reinvestment of funds with BLMIS. The single or same

transaction requirement cannot be met under these circumstances.

         Defendants’ Eleventh Affirmative Defense is insufficient as a matter of law.

         D.       Affirmative Defense Twelve – Set-Off

         Defendants’ Twelfth Affirmative Defense asserts an entitlement to set-off under 11

U.S.C. § 553. 13 Section 553(a) of the Code recognizes and preserves the right to setoff afforded

outside of bankruptcy, stating, “[t]his title does not affect any right of a creditor to offset a

mutual debt owing by such creditor to the debtor that arose before the commencement of the case

under this title against a claim of such creditor against the debtor that arose before the

commencement of the case…” 11 U.S.C. § 553(a) (emphasis added). “It is well established that a

party will be unable to assert a setoff where that party is being sued for fraudulent transfers.” In

re O.P.M. Leasing Servs., Inc., 35 B.R. 854, 868 (Bankr. S.D.N.Y. 1983) (citing Bennett v.

Rodman & English, Inc., 2 F.Supp. 355, 358 (E.D.N.Y. 1932); Irving Trust Co. v. Frimitt, 1

F.Supp. 16 (S.D.N.Y. 1932), aff’d in part, rev’d in part on other grounds, 48 B.R. 824 (Bankr.


13
   Defendants’ Twelfth Affirmative Defense asserts “[t]he The entire sum of $5,000,000 [$2,000,000] that was
withdrawn from the Account on or about July 24 [July 25], 2007, was immediately reinvested back into BLMIS
through third-party feeder fund Lakeview and thereafter remained invested with BLMIS until all of it was lost as a
result of Madoff’s fraud. Defendants, therefore, did not actually receive any fictitious profits and, in fact, lost money
as a result of Madoff’s fraud. Accordingly, Defendants are entitled to a set-off under 11 U.S.C. § 553 in the full
amount (i.e., $5,000,000 [$2,000,000]) that they had returned to BLMIS through their Lakeview investment.”
(Lustig Trust Dkt. No. 58; Lustig Dkt. No. 61).


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S.D.N.Y. 1985)); see also, e.g., In re Coin Phones, Inc., 153 B.R. 135, 143 (Bankr. S.D.N.Y.

1993) (“A party may not setoff a fraudulent transfer against the amount of a claim that the

creditor holds against the debtor.”). “This is because where the party seeking to set off is being

sued for fraudulent transfers, there is no mutuality of obligations, which is required under Code

section 553(a).” In re O.P.M. Leasing, 35 B.R. at 868 (citing 4 Collier on Bankruptcy ¶

553.04[2] (15th ed. 1983)); see also In re Manshul Constr. Corp., 2000 WL 1228866, at *56-57,

2000 U.S. Dist. LEXIS 12576, 97-CV-8851, at *161 (S.D.N.Y. Aug. 30, 2000) (“[W]hen a party

is being sued for fraudulent transfers there is no mutuality of obligations and thus no right to any

set-off.”). 14

         “The concept of ‘mutual debts’ contained in section 553 of the Code generally requires

that ‘the debts must be in the same right and between the same parties, standing in the same

capacity.’” In re Drexel Burnham Lambert Group, Inc., 113 B.R. 830, 847 (Bankr. S.D.N.Y.

1990); see also In re Ampal-Am. Israel Corp., 545 B.R. 802, 813–14 (Bankr. S.D.N.Y. 2016); In

re Waterscape Resort LLC, 544 B.R. at 526. Defendants may have a pre-petition claim against a

non-BLMIS investment entity, but they cannot seek to set off that claim against their liability to

the Trustee as transferees of fraudulent conveyances. Mutuality is lacking because the liabilities

owed are not between the same parties in the same capacities. See Westinghouse Credit Corp. v.

D’Urso, 278 F.3d 136, 149 (2d Cir. 1998).

         Even if Defendants had a direct claim against the BLMIS estate--which they do not—

mutuality nevertheless would be lacking because the liability of Defendants to the Trustee as

transferees of fraudulent conveyances does not constitute a pre-petition debt owed to the debtor;

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   “To permit set-off [against a fraudulent transfer] would be to legalize a payment which was fraudulent, and to do
so by indirection what could not be done directly, and would work an injustice which cannot be permitted.” Bennett
v. Rodman & English, Inc., 2 F.Supp. 355, 358 (E.D.N.Y. 1932) (citing Hitchcock v. Rollo, Fed. Cas. No. 6535); see
also McColley v. Rosenberg (In re Candor Diamond Corp.), 76 B.R. 342, 352 n.12 (Bankr. S.D.N.Y. 1987); In re
O.P.M. Leasing, 35 B.R. at 868.


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rather, it is a debt owed to the Trustee. In re Singh, 434 B.R. 298, 308 (Bankr. E.D.N.Y. 2010)

(citing Irving Trust Co., 1 F.Supp. at 17 (“These counterclaims are for moneys said to have been

owing by the bankrupts for services rendered. The claim asserted by the trustee against the

defendants being for fraudulent transfers, the case is not one of mutual debts or credits…The

liability of the defendants to the trustee is not a “debt”…)); see also In re Adbox, Inc., 488 F.3d

836 (9th Cir. 2007) (in preference action brought by trustee on behalf of estate, court dismissed

defendant’s counterclaim which related to pre-petition conduct of debtor, finding that in order to

defend against counterclaim, trustee would be required to stand in shoes of debtor, a different

representative capacity than the representative capacity on behalf of estate in which the trustee

brought his preference action).

       Moreover, to permit Defendants to offset their liability for the receipt of fraudulent

transfers by the amount of a general unsecured claim (against a third-party investment vehicle,

not directly against the BLMIS estate) would perpetuate the fraudulent transfers and render

meaningless the Code’s fraudulent transfer provisions, as the fraudulently conveyed funds would

not become available for pro rata distribution to all creditors. See 5 Collier on Bankruptcy at ¶

553.03[3][e][v] (“Setoff Against Preference of Fraudulent Transfer”).        Defendants’ Twelfth

Affirmative Defense is insufficient as a matter of law.

IV.    THE TRUSTEE WILL BE PREJUDICED BY INCLUSION OF DEFENDANTS’
       EIGHTH, NINTH, TENTH, ELEVENTH AND TWELFTH AFFIRMATIVE
       DEFENSES

       When an affirmative defense is unavailable as a matter of law, the only remaining inquiry

is whether the plaintiff would be prejudiced if the defense remains in the pleadings. Wausau, 803

at 213; see also Toomey, 866 F.Supp. at 722 (“When ‘the defense is insufficient as a matter of

law, the defense should be stricken to eliminate the delay and unnecessary expense from

litigating the invalid claim’”) (quoting Eckert Seamans Cherin & Mellott, 754 F.Supp. at 23).


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        In this case, the Trustee would be prejudiced by the onerous discovery obligations

addressing the meritless defenses asserted by Defendants. In fact, Defendants have already served

discovery requests related to these Affirmative Defenses, including requests for documents and

information regarding transactions between and among multiple unrelated entities and to which

BLMIS was not a party. As detailed in the Trustee’s prior correspondence to the Court, such

discovery burdens the Trustee with the task of reviewing thousands of documents received in

response to numerous subpoenas and/or document requests, in multiple unrelated adversary

proceedings involving unrelated issues and concerning transactions to which BLMIS was not a

party. The Trustee would be required to scour productions obtained in other litigation looking for

documents that may be related to the Affirmative Defenses, and then to negotiate with the

producing parties to secure an exemption to the strict confidentiality agreements governing

reproduction of the documents. 15 See McCaskey, 56 F.Supp.2d at 326 (“An increase in time,

expense and complexity of a trial may constitute sufficient prejudice to warrant granting a

plaintiff’s motion to strike.”) (citing Toomey, 866 F.Supp. at 722); Specialty Minerals, Inc., 395

F.Supp.2d at 114 (finding prejudice where “additional discovery would be required” and “length

and scope of the portion of the trial related to the claims raised in this proceeding would be

expanded” by inclusion of affirmative defense).

V.      CONCLUSION

        There is no question of fact and no substantial question of law to be determined by this

Court, and the Trustee will be prejudiced by inclusion of these affirmative defenses.

Accordingly, for the reasons stated above, the Trustee respectfully requests that this Court strike


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  Additional information regarding the discovery requests served by Defendants and the undue burden and expense
imposed in responding is more fully set forth in correspondence to the Court regarding Defendants’ First Sets of
Interrogatories and Document Requests and the Trustee’s Responses and Objections to Defendants’ First Sets of
Interrogatories and Document Requests. (Lustig Trust Dkt. Nos. 66, 67 and 69; Lustig Dkt. Nos. 69, 70 and 72).


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Defendants’ Eighth, Ninth, Tenth, Eleventh and Twelfth Affirmative Defenses in their entirety

because they are legally insufficient.

Dated: New York, New York                 Respectfully submitted,
       February 28, 2017

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